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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION



GILBERTO SOTO,

Plaintiff,
                                                               Case No.:6:10-cv-1847-Orl-22DAB
vs.
NATIONS RECOVERY
CENTER INCORPORATED,

Defendant.
___________________________________/


                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                WITH PREJUDICE

        Having amicably resolved all matters in controversy and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



Dated: December 29, 2010                      Respectfully submitted,


                                              /s Andrew I. Glenn
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